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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Wendle Murphy,                          )
     Plaintiff,                         )
                                        )
       v.                               )        No. 12 C 3007
                                        )
CIGPF I Corp., a New York corporation, )         Judge Chang
American Coradius International, LLC, a )
Delaware limited liability company, and )
Client Services, Inc., a Missouri       )
corporation.                            )
       Defendants.                      )

                             STIPULATION OF DISMISSAL

       The parties, having reached a settlement of Plaintiff’s claims against the

Defendants, hereby stipulate to the dismissal of this lawsuit with prejudice, each party to

bear their own attorneys’ fees and costs.

Dated: June 12, 2012

/s/ David J. Philipps_______                     /s/ Nicole Barrett _______
One of Plaintiff's Attorneys                     One of Defendants CIGPFI’s and ACI’s
                                                 Attorneys

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                                                 /s/ Matthew J. Aplington
                                                 One of Defendant Client Services, Inc.’s
                                                 Attorneys

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      The foregoing stipulation is hereby approved and this action is dismissed with

prejudice, each party to bear their own attorneys’ fees and costs.

Dated: ______________
                                         ___________________________________
                                         Judge Edmond E. Chang,
                                         United States District Court




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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 12, 2012, a copy of the foregoing Stipulation of
Dismissal was filed electronically. Notice of this filing will be sent to the following
parties by operation of the Court’s electronic filing system. Parties may access this
filing through the Court’s system.

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